   Case: 1:21-cv-06546 Document #: 70-2 Filed: 11/08/22 Page 1 of 2 PageID #:844




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                               Case No. 1:21-cv-06546

                         Plaintiff /                   The Honorable John R. Blakey
                         Counterclaim-Defendant,

         v.

 VINTAGE BRAND, LLC,

                         Defendant /
                         Counterclaim-Plaintiff.


                              DECLARATION OF THERESA H. WANG

        I, Theresa H. Wang, declare and state the following:

        1.      I am a shareholder at the law firm Stokes Lawrence, P.S. and one of the counsel of

record for Vintage Brand, LLC (“Vintage Brand”) in this lawsuit, and I have personal knowledge

of the facts stated herein.

        2.      Since fact discovery has commenced, the Board of Trustees of the University of

Illinois (“University”) has produced records regarding a licensing program for the Chief Logo

initiated after the Board’s March 13, 2007 resolution. Attached as an example of such production

is Exhibit A: ILL-VNTG_0012072, 000719–27.

        3.      Additionally, the pages bates numbered with the prefix “ILL-VNTG” contained in

the Appendix to the underlying Motion for Partial Summary Judgment were all produced by the

University to Vintage Brand.

        //

        //




                                                   1
Case: 1:21-cv-06546 Document #: 70-2 Filed: 11/08/22 Page 2 of 2 PageID #:845




   I declare under penalty of perjury that the foregoing is true and correct.

   EXECUTED at Seattle, Washington this 8th day of November, 2022.



                                                 /s/ Theresa H. Wang
                                                 Theresa H. Wang (admitted pro hac vice)




                                             2
